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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF DELAWARE

MAHES WAR MIKKILINENI, )
Plaintiff,
v. 5 Civil Action No. 20-647-CFC/SRF
PAYPAL, INC., et al.,
Defendants.
ORDER

WHEREAS, the Magistrate Judge issued a Report and Recommendation
(D.I. 9);

WHEREAS, the Magistrate Judge recommended in the Report and
Recommendation that the Court grant the United States’ motion to substitute party
(D.I. 3), grant the United States’ motion to dismiss with prejudice (D.I. 4), deny
Plaintiff's motion for discovery and oral hearing (D.I. 6), deny Plaintiff's motion
for a three-judge district court panel (/d.), and grant in part and deny in part
Plaintiff's motion to remand. (/d.);

WHEREAS, Plaintiff filed an objection to the Report and Recommendation

(D.I. 10);
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WHEREAS, the Court concludes that the Magistrate Judge’s Report and
Recommendation should be adopted for the reasons stated by the Magistrate Judge
in her Recommendation (D.I. 9);

NOW THEREFORE, IT IS HEREBY ORDERED that

1. The Magistrate Judge’s Report and Recommendation (D.I. 9) is

ADOPTED;
2. Plaintiff's Objections (D.I. 10) are OVERRULED;
3. The United States’ motion to substitute party (D.I. 3) is GRANTED;
4. The United States’ motion to dismiss with prejudice (D.I. 4) is
GRANTED;

5. Plaintiff's motion for discovery and oral hearing (D.I. 6) is DENIED;

6. Plaintiff's motion for a three-judge district court panel (D.I. 6) is
DENIED;

7. Plaintiff's motion to remand (D.I. 6) is GRANTED IN PART AND
DENIED IN PART;

8. Plaintiff's claims against the Director CfA-CXC Center for
Astrophysics/Harvard-Smithsonian are DISMISSED;

9. Plaintiff's claims against the United States of America are DISMISSED;
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10.Plaintiffs claims against Pay Pal, Inc.; Shijil TS/Sparksupport Infotech
PVT Ltd.; and GoDaddy.com, LLC are REMANDED to the Superior
Court of the State of Delaware;

11.The Court of the Clerk is directed to CLOSE the case.

ft Fn

United States District Judge
